
DIAMANTIS, Judge.
Anthony Brown challenges the legality of his sentence, claiming that the trial court erred in computing his sentencing guidelines scoresheet because the court utilized a multiplier in assessing legal constraint points. See Flowers v. State, 586 So.2d 1058 (Fla.1991). We conclude that this matter must be remanded to the trial court for a hearing because the instant record does not contain the pertinent documents concerning the sentence which was imposed following an earlier reversal by this court. Brown v. State, 581 So.2d 242 (Fla. 5th DCA 1991).
VACATED; REMANDED for a hearing.
HARRIS, C.J., and GRIFFIN, J., concur.
